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                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

 ROBERTO RODRIGUEZ,

        Plaintiff,
                                                              CASE NO.: 1:21-CV-21336-UU

 vs.

 WESTERN WORLD INSURANCE
 COMPANY,

       Defendant.
 _____________________________/

                                 JOINT SCHEDULING REPORT

        Plaintiff, ROBERTO RODRIGUEZ and Defendant, WESTERN WORLD INSURANCE

 COMPANY (collectively, the “Parties”), pursuant to Rule 16.1(b) of the Local Rules for the

 Southern District of Florida (“the Local Rules”) and the Court’s Order Setting Initial Planning and

 Scheduling Conference [Doc. 3], conferred telephonically on May 14, 2021, and conferred

 subsequently via e-mail, hereby submit this Joint Scheduling Report.

 I. Designation of Case Management Track:

        The Parties agree that the instant matter should be governed by the Standard Case

 Management Track as this case is a breach of contract action brought by the insured against its

 homeowners’ insurance carrier. Plaintiff alleges that Defendant breached the terms of the policy

 by not affording coverage for the loss to Plaintiff’s property purported by Plaintiff as having

 occurred on September 10, 2017. At the outset is unclear how many experts will need to be

 retained on either side. What is clear, is that the depositions of Plaintiff, anyone who has inspected

 the property or performed repairs on Plaintiff’s behalf, Defendant’s Corporate Representative, and

 Defendant’s Field Adjuster will need to take place. Depositions and written discovery in these


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 types of cases typically take 200 days with the normal diligence of the Parties and non-parties.

 This time could fluctuate depending on the thoroughness of the maintenance records kept and the

 number of entities who have serviced the subject property. Trial should last between three to five

 days. For these reasons the Parties believe that the Standard Case Management Track is

 appropriate timeline for the resolution of this matter.

 II. Information required Local Rule 16.1(b):

    (A) The likelihood of settlement

        The Parties have discussed the possibility of settlement but cannot reach any agreement at

 this time. The Parties will continue to address the potential for settlement and, if necessary, will

 thereafter participate in any court-ordered mediation or, in the alternative, proceed with a private

 mediation.

    (B) The likelihood of appearance in the action of additional parties

        Additional parties are not expected.

    (C) Proposed limits on the time:

        (i) to join other parties and to amend the pleadings;

        While the Parties do not expect additional parties to appear, the Parties have agreed to July

 2, 2021, as the deadline to joint other parties and amend the pleadings.

        (ii) to file and hear motions; and

        The Parties agree to April 11, 2022, as the deadline for Dispositive, Daubert, and Markman

 Motions; and May 13, 2022, for the filing of all other motions, including Motions in Limine.

        (iii) to complete discovery.

        The Parties agree that the close of discovery under the Standard Track will be March 11,

 2022. The Parties further agree that Plaintiff will disclose its expert(s) on October 11, 2021 and



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 Defendant will disclose its expert(s) on November 11, 2021. The parties will provide dates for

 expert depositions within the deadlines identified hereto after receipt of reasonable notice of same.

    (D) Proposals for the formulation and simplification of issues, including the elimination
       of frivolous claims or defenses, and the number and timing of motions for summary
       judgment or partial summary judgment;

          The Parties do not propose a limit to the number of motions for summary judgment or

 partial summary judgment. As discovery develops, the Parties will identify and consider all

 relevant issues and explore specific proposals for simplification of issues to be resolved by the

 Court.

    (E) The necessity or desirability of amendments to the pleadings;

          The Parties do not anticipate additional amendments to the pleadings. Should additional

 information develop through the discovery process, the Parties will endeavor to agree to any

 necessary amendments.

    (F) The possibility of obtaining admissions of fact and of documents, electronically stored
        information or things which will avoid unnecessary proof, stipulations regarding
        authenticity of documents, electronically stored information or things, and the need
        for advance rulings from the Court on admissibility of evidence;

          The Parties shall endeavor to stipulate as to the authenticity of documents well in advance

 of the time of trial in order to avoid any unnecessary proof during the course of trial. The Parties

 do not anticipate the need for the discovery of electronically stored information. The Parties will

 further be participating in discovery which may very well lead to admissions of certain facts to

 assist in streamlining the litigation of this matter and do not anticipate the need for advance rulings

 on admissibility of evidence.

    (G) Suggestions for the avoidance of unnecessary proof and of cumulative evidence

          The Parties will endeavor to agree wherever possible to avoid unnecessary proof and

 cumulative evidence.


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    (H) Suggestions on the advisability of referring matters to a Magistrate Judge or master

        The Parties do not agree to referring matters beyond discovery to a Magistrate Judge.

    (I) A preliminary estimate of the time required for trial

        The Parties estimate three to five days for trial.

    (J) Requested date or dates for conferences before trial, a final pretrial conference, and
        trial

        The Parties anticipate a final status conference on June 11, 2022. The Parties anticipate

 being prepared for trial by July 11, 2022.

    (K) Any issues about: (i) disclosure, discovery, or preservation of electronically stored
       information, including the form or forms in which it should be produced; (ii) claims
       of privilege or of protection as trial-preparation materials, including -- if the parties
       agree on a procedure to assert those claims after production -- whether to ask the
       court to include their agreement in an order under Federal Rule of Evidence 502; and
       (iii) when the parties have agreed to use the ESI Checklist available on the Court’s
       website (www.flsd.uscourts.gov), matters enumerated on the ESI Checklist; and

        The Parties do not anticipate any issues relating to the above.

    (L) Any other information that might be helpful to the Court in setting the case for status
        or pretrial conference.

        None.




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 Respectfully submitted this 17th day of June, 2021.

  SIMPSON & MENA, P.A.                              BUTLER WEIHMULLER KATZ CRAIG LLP

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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
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 ROBERTO RODRIGUEZ,

        Plaintiff,
                                                            CASE NO.: 1:21-CV-21336-UU

 vs.

 WESTERN WORLD INSURANCE
 COMPANY,

       Defendant.
 _____________________________/

               JOINT PROPOSED SCHEDULING ORDER SETTING CIVIL
                      TRIAL DATE AND PRETRIAL SCHEDULE

        Plaintiff, ROBERTO RODRIGUEZ and Defendant, WESTERN WORLD INSURANCE

 COMPANY (collectively, the “Parties”), pursuant to Rule 16.1(b) of the Local Rules for the

 Southern District of Florida (“the Local Rules”) and the Court’s Order Setting Initial Planning and

 Scheduling Conference [Doc. 3], conferred telephonically on May 14, 2021, and conferred

 subsequently via e-mail, hereby submit this Joint Scheduling Order.

 A. Case Management Track

        This matter is assigned to the standard case management track pursuant to Local Rule

 16.1(a)(2).

 B. Discovery Schedule Agreed to by the Parties

        The Parties shall comply with the deadlines set forth below.

        ACTION                                                                 DATE
        1. Joinder of any additional parties due by:                         07/02/2021

        2. Filing of motions to amend the complaint by:                      07/02/2021




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       3. Written lists containing the names and addresses of         05/13/2022
          all fact witnesses intended to be called at trial due by:

       4. Plaintiff shall disclose experts, expert witness            10/11/2021
          summaries, and reports as required by Fed. R. Civ. P.
          26(a)(2) by:

       5. Defendant shall disclose experts, expert witness            11/11/2021
          summaries, and reports as required by Fed. R. Civ. P.
          26(a)(2) by:

       6. Exchange of rebuttal expert witness summaries and           12/10/2021
          reports as required by Fed. R. Civ. P. 26(a)(2) due by:

       7. Selection of mediator due by:                               07/12/2021

       8. Fact discovery shall be completed by [at least four         03/11/2022
          months before Trial date]:

       9. Expert discovery shall be completed by [at least four       03/11/2022
          months before Trial date]:

       10. Dispositive motions, including those regarding             04/11/2022
           summary judgment and Daubert, must be filed by [at
           least three months before Trial date]:

       11. Mediation shall be completed by [at least three            04/11/2022
           months before Trial date]:

       12. All pretrial motions and memoranda of law must be          05/13/2022
           filed by [at least two months before Trial date]:

       13. Motions in limine must be filed by [at least two           05/13/2022
           months before Trial date]:

       14. Joint pretrial stipulation, proposed joint jury            06/04/2022
           instructions, proposed joint verdict form, and/or
           proposed findings of fact and conclusions of law must
           be filed by [at least one month before Trial date]:

       15. Trial                                                      07/11/2022




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 Respectfully submitted this 17th day of June, 2021.

  SIMPSON & MENA, P.A.                                 BUTLER WEIHMULLER KATZ CRAIG LLP

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